                                                                                              filed
                                                                                        ■IN OPEN nniiRT


                      IN THE UNITED STATES DISTRICT COURT FOR
                          THE EASTERN DISTRICT OF VIRGINIA
                                                                               L         u s DISTRICT
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                                        Alexandria Division


UNITED STATES OF AMERICA

                V.                                    Criminal No. l:19-CR-99-TSE

CHRISTOPHER WARREN LAPP,

Defendant.



                                    STATEMENT OF FACTS


       The parties stipulate that the allegations in Count One, Count Two and Count Three of

the Indictment and the following facts are true and correct, and that had the matter gone to trial

the United States would have proven them beyond a reasonable doubt with admissible and

credible evidence.


        1.     On November 13, 2018, in Great Falls, Virginia, within the Eastern District of

Virginia, the defendant, CHRISTOPHER WARREN LAPP, by force and violence, and by

intimidation, did take from the person and presence of another, namely an employee of the Wells

Fargo Bank branch located at 750 Walker Road, Great Falls, Virginia, approximately $14,590 in

United States currency, money belonging to, and in the care, custody, control, management, and

possession of Wells Fargo Bank, the deposits of which were then insured by the Federal Deposit

Insurance Corporation, and knowingly assaulted and put in jeopardy the life of another person,

namely employees and customers of Wells Fargo Bank, by the use of a dangerous weapon, namely

a firearm in violation of Title 18, United States Code, Section 2113(a) and (d).

       2.      On November 13, 2018, in Great Falls, Virginia, within the Eastern District of

Virginia, the defendant, CHRISTOPHER WARREN LAPP, with intent to cause serious bodily
